                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

MATTHEW WILKINSON,                                  )
                                                    )
               Petitioner,                          )
                                                    )
v.                                                  )        Nos.   1:14-CR-89-HSM-CHS-4
                                                    )               1:15-CV-320-HSM
UNITED STATES OF AMERICA,                           )
                                                    )
               Respondent.                          )

                                 MEMORANDUM OPINION

        Before the Court are competing motions: Petitioner seeks permission to voluntarily

dismiss his collateral challenge without prejudice under Federal Rule of Civil Procedure 41(a)(2)

[Doc. 229]; the United States asks that this Court deny and dismiss that same collateral challenge

with prejudice in light of Beckles v. United States, 137 S. Ct. 886, 894 (2017) [Doc. 230].

        Petitioner filed the underlying motion to vacate, set aside, or correct his sentence under

28 U.S.C. § 2255 on November 19, 2015 [Doc. 199].1 In it, he: (1) challenges his enhancement

under Section 4B1.1 of the United States Sentencing Guidelines based on Johnson v. United

States, 135 S. Ct. 2551 (2015), which held that the residual provision of the Armed Career

Criminal Act (ACCA), 18 U.S.C. § 924(e), was unconstitutionally vague [Id. at 7; Doc. 199-1

(suggesting that his sentence is no longer valid because the Guidelines residual provision is

equally vague)]; and (2) argues that counsel rendered ineffective assistance because he did not

object in anticipation of Johnson or otherwise preserve the issue for subsequent challenge [Doc.


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         On February 11, 2016, this Court appointed Federal Defender Services of Eastern
Tennessee (FDSET) for the limited purpose of reviewing the case to determine whether or not
Petitioner is eligible for collateral relief based on Johnson v. United States, 135 S. Ct. 2551
(2015). See E.D. Tenn. SO-16-02 (Feb. 11, 2016). Consistent with that appointment, FDSET
filed a reply to the United States’ response in opposition [Doc. 216].



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199 pp. 4–5].2 The United States responded in opposition [Doc. 202]; Petitioner and FDSET

replied in turn [Docs. 206, 216].

        On March 6, 2017, the Supreme Court held in Beckles that the United States Sentencing

Guidelines are “not amenable to vagueness challenges.” 137 S.Ct. at 894. Two weeks later, this

Court entered an Order (1) explaining that Beckles necessarily meant that “Johnson . . . does not

undermine sentences based on Guideline enhancements;” (2) instructing the parties to “file any

motion that they want[ed] the Court to consider in conjunction with, or prior to, ruling on [the

instant] petition[] on or before April 1, 2017;” and (3) requiring that responsive pleadings be

filed on or before April 15, 2017 [Doc. 228]. Shortly thereafter, this Court received the instant

motions for dismissal with and without prejudice [Docs. 229, 230].

I.      MOTION FOR VOLUTNARY DISMISSAL WITHOUT PREJUDICE

        Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that a movant may voluntarily

dismiss an action without a court order by filing “a notice of dismissal before the opposing party
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       The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
firearm after having sustained three prior convictions “for a violent felony or a serious drug
offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
The statute defines “violent felony” as “any crime punishable by imprisonment for a term
exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
offense” and who has “at least two prior felony convictions of either a crime of violence or a
controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
well as a nearly identical enumerated-offense clause).


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serves either an answer or a motion for summary judgment[.]”             Subsection (B) states the

following:

       Unless the notice of dismissal or stipulation states otherwise, the dismissal is
       without prejudice. But if the plaintiff previously dismissed any federal—or
       state—court action based on or including the same claim, a notice of dismissal
       operates as an adjudication on the merits.

Fed. R. Civ. P. 41(a)(1)(B). By contrast, Federal Rule of Civil Procedure 41(a)(2) provides that

“[e]xcept as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s request only

by court order, on terms that the court considers proper.” Because the United States responded

in in opposition to the § 2255 motion and because that response addressed the merits of the

petition, Petitioner’s ability to voluntarily dismiss the instant action depends on Rule 41(a)(2).

       Whether to grant voluntary dismissal under Rule 41(a)(2) is within the sound discretion

of the district court. Grover by Grover v. Eli Lilly and Co., 33 F.3d 716, 718 (6th Cir. 1994). An

abuse of discretion exists “only where the [non-movant] would suffer ‘plain legal prejudice’ as a

result of a dismissal without prejudice, as opposed to facing the mere prospect of a second

lawsuit.” Id. (quoting Cone v. West Virginia Pulp & Paper Co., 330 U.S. 212, 217 (1947)). In

determining whether the non-movant will suffer “plain legal prejudice,” the district court should

consider the following: “the [non-movant’s] effort and expense of preparation for trial, excessive

delay and lack of diligence on the part of the plaintiff in prosecuting the action, insufficient

explanation for the need to take a dismissal, and whether a motion for summary judgment has

been filed by the defendant.” Id. (citing Kovalic v. DEC Int’l, Inc., 855 F.2d 471, 474 (7th Cir.

1988)). It is not necessary that every factor be resolved in favor of the moving party for

dismissal to be appropriate.      The factors only serve as a guide for the district court’s

consideration in making its determination. See Rast v. City of Pigeon Forge, No. 3:10-cv-52,


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2011   WL      884941,   at   *3   (E.D.    Tenn.       Mar.   11,   2011)   (quoting   Rosenthal   v.

Bridgestone/Firestone, Inc., 217 F. App’x 498, 502 (6th Cir. 2007)).

       Petitioner cites the following in support of voluntary dismissal: (1) the petition contained

“a legitimate and meritorious legal challenge” when filed but was later rendered non-meritorious

by Beckles; (2) the United States “expended little effort and expense in filing [the] response” by

using the same “form motion” in numerous Johnson cases; and (3) there was no lack of diligence

or excessive delay on the part of Petitioner in requesting dismissal [Doc. 229]. The United States

responded by challenging the first and second assertions, but not the third [Doc. 230].

       After considering the parties’ arguments and evaluating the instant case in light of the

Grover factors, this Court does not believe that dismissal without prejudice would be

appropriate.

       First, the United States expended significant effort in responding to the petition. Cf. Rule

5 Governing Section 2255 Proceedings (explaining that the United States is not required to

respond to a § 2255 motion unless ordered to do so by the district court). In addition to

conducting an individualized evaluation of Petitioner’s case, the United States researched and

briefed several complex legal issues, including constitutional vagueness and retroactivity. The

fact that it used similar or identical analysis in other Johnson-based post-conviction challenges

does not change the fact that the instant motion for relief resulted in, or at least contributed to, a

significant expenditure of time and resources.

       Second, allowing voluntarily dismissal without prejudice at this stage of the proceeding,

i.e., after the United States responds to the merits of the petition, could result in widespread

abuse and significant prejudice to the United States. Under the “Antiterrorism and Effective

Death Penalty Act of 1996,” petitioners cannot file a second or successive § 2255 petition in the

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district court until they move in the United States Court of Appeals for an order authorizing the

district court to consider that motion. See Rule 9 Governing Section 2255 Proceedings (“Before

presenting a second or successive motion, the moving party must obtain an order from the

appropriate court of appeals authorizing the district court to consider the motion.”). The standard

for gaining leave to file a second or successive petition is significantly higher than that involved

with a petitioner’s initial collateral challenge. 28 U.S.C. § 2255(h). It is not hard to imagine that

prisoners might circumvent the successive filing barrier by submitting an initial § 2255

challenge, securing a response from the United States, reviewing that response to determine

whether he likes or dislikes his chances of success, moving to voluntarily dismiss without

prejudice under Rule 42(a)(2) when he concludes that the odds of a favorable ruling are too slim,

and submitting an entirely new petition with distinct grounds of collateral attack. He could then

repeat the process.

       Third, this Court disagrees that this case is distinguishable from a typical § 2255 motion

because the theories for relief were “legitimate and meritorious” when filed [Doc. 229 p. 1, 3

(“[Petitioner] has provided the Court with a sufficient basis for the need to take a dismissal,

namely, that the developing body of law in this matter morphed since the filing of the § 2255

motion from a legitimate arguable claim, to a meritorious claim (due to Pawlak[v. United States,

822 F.3d 902 (6th Cir. 2016)]), then finally a non-meritorious claim (due to Beckles).”)]. While

it is true that the Sixth Circuit held “that Johnson’s vagueness analysis applie[d] equally to the

Guidelines and, as a result, that the parallel residual provision contained in Section 4B1.2 was

void for vagueness,” Pawlak, 822 F.3d at 911, neither it nor the Supreme Court ever held that the

resulting rule applied on collateral review, see In re Embry, No. 16-5447, 2016 WL 4056056, at

*1 (6th Cir. July 29, 2016) (recognizing that “it is not clear whether to treat Pawlak as a new rule

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that the Supreme Court has not yet made retroactive [to cases on collateral review] or as a rule

dictated by Johnson that the Supreme Court has made retroactive”). In fact, the courts within

this district have consistently held that it would not. Henley v. United States, No. 1:14-cv-328-

CLC, 2016 WL 2643002, at *2–5 (E.D. Tenn. May 9, 2016) (concluding that the Supreme Court

had not yet “made” Johnson’s application in the Guideline context retroactive on collateral

review); Lynn v. United States, No. 3:15-cv-571-TWP, 2016 WL 1258487, at *2–4 (E.D. Tenn.

Mar. 30, 2016) (same); Barnes v. United States, 3:15-cv-375-TAV, 2016 WL 1175092, at *2–4

(E.D. Tenn. Mar. 23, 2016) (same); Frazier v. United States, No. 1:09-cr-188-CLC, 2016 WL

885082, at *2–6 (E.D. Tenn. Mar. 8, 2016) (same). As such, Beckles merely confirmed what

many courts within this district suspected to be true all along. See Beckles, 137 S. Ct. at 894

(explaining that the United States Sentencing Guidelines are “not amenable to vagueness

challenges”); Frazier, 2016 WL 885082, at *1 n. 1 (“Johnson’s effect on [Section] 4B1.2(a)’s

residual clause is doubtful.”).

         For the foregoing reasons, Petitioner’s request for voluntary dismissal will be denied.

Accord United States v. Hamilton, No. 3:12-cv-1928, 2012 WL 5292880, at *2 (N.D. Ohio Oct.

25, 2012) (denying attempt to voluntarily dismiss a fully briefed § 2255 motion “in the face of

what [the petitioner] perceive[d] to be near certain defeat”).

II.      MOTION TO DENY AND DISMISS WITH PREJUDICE

         This Court is also in possession of the United States’ request to deny and dismiss the

challenge to Petitioner’s career offender status in light of Beckles. That motion will be granted.

         A.     Standard of Review

         To obtain relief under 28 U.S.C. § 2255, Petitioner must demonstrate “(1) an error of

constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of

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fact or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United States,

471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496–97 (6th

Cir. 2003)). He “must clear a significantly higher hurdle than would exist on direct appeal” and

establish a “fundamental defect in the proceedings which necessarily results in a complete

miscarriage of justice or an egregious error violative of due process.” Fair v. United States, 157

F.3d 427, 430 (6th Cir. 1998).

       B.      Analysis

       The petition asserts two theories of collateral attack. In the first, Petitioner argues that

Johnson applies to the identically worded residual provision in Section 4B1.2, Tennessee

aggravated burglary only qualified as a crime of violence under that provision, and he lacks

sufficient predicates for career offender enhancement. In the second, he argues that trial counsel

rendered constitutionally deficient assistance because he failed to anticipate Johnson, object to

Petitioner’s career offender designation based on that decision, or otherwise preserve the same.

               1.      Career Offender Designation After Johnson

       To the extent that Petitioner argues that Johnson invalidated the Guideline residual clause

and that, without that clause, Petitioner’s prior convictions for aggravated burglary cannot be

categorized as crimes of violence, that argument fails for two reasons.

       First, the Guidelines are “not amenable to vagueness challenges.” Beckles, 137 S. Ct. at

894. Because Johnson did not affect Petitioner’s status as a career offender, that decision cannot

justify relief. Second, the claim is barred by the waiver in his plea agreement [Doc. 63 ¶ 12(b)].

       An informed and voluntary waiver of the right to collaterally attack a sentence is

enforceable. Watson v. United States, 165 F.3d 486, 489 (6th Cir. 1999); United States v.

McGlivery, 403 F.3d 361, 363 (6th Cir. 2005). The Sixth Circuit recently held that the same is

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true even where that waiver prevents a petitioner from challenging his base offense level or

career offender enhancement based on Johnson. See In re Garner, No. 16-1655, 2016 WL

6471761, at *1–2 (6th Cir. Nov. 2, 2016) (denying leave to challenge career offender

enhancement based on Johnson where the defendant voluntarily waived his right to raise

collateral challenges).

       In an attempt to avoid dismissal, Petitioner cites United States v. McBride, 826 F.3d 293

(6th Cir. 2016), which held that stipulating to career offender designation in a plea agreement did

not result in forfeiture of the right to subsequently challenge that enhancement based on Johnson

[Doc. 216 p. 2]. Specifically, he argues that this Court should find that he, like Mr. McBride,

“could not have intentionally relinquished a claim based on [a decision] . . . decided after his

sentencing.” 826 F.3d at 295. This reliance on McBride is misplaced because, as Judge Sutton

explained in In re Garner, “the defendant[] in [that case] did not sign [a] plea agreement[] with

provisions waiving [his] appellate and collateral review rights.” 2016 WL 6471761, at *2.

       “The Federal Rules of Criminal Procedure give the parties ample room to tailor plea

agreements to different needs—whether they are the right to appeal, the right to benefit from

future changes in the law or other concerns that the defendant . . . may have.” United States v.

Bradley, 400 F.3d 459, 466 (6th Cir. 2005).         For purposes of the instant case, Petitioner

“knowingly and voluntarily” waived his right to collaterally challenge his sentence with the

exception of cases involving ineffective assistance or prosecutorial misconduct [Doc. 63 ¶

12(b)]. The fact that “developments in the law [have] expand[ed] [Petitioner’s forfeited] right

[of collateral review] . . . does not suddenly make [his] plea involuntary or unknowing or

otherwise undo its binding nature.” United States v. McGlivery, 403 F.3d 361, 363 (6th Cir.

2005). In light of the binding nature of Petitioner’s wavier, the challenge to his career offender

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designation will be dismissed. Accord United States v. Avery, No. 3:16-cv-2, 2016 WL 7467967,

at *4–6 (S.D. Ohio Dec. 28, 2016) (denying Johnson-based challenge based on pre-Johnson

waiver); United States v. Strauss, No. 16-cv-11397, 2016 WL 68733398, at *2–3 (E.D. Mich.

Nov. 2, 2016) (same); United States v. Muller, No. 16-cv-20009, 2016 WL 6892268, at *2–3

(E.D. Mich. Nov. 2, 2016) (same).3

               2.      Ineffective Assistance of Counsel

       A petitioner alleging ineffective assistance of counsel must satisfy the two-part test set

forth in Strickland v. Washington, 466 U.S. 668, 687 (1987). See also, Huff v. United States, 734

F.3d 600, 606 (6th Cir. 2013). First, the petitioner must establish, by identifying specific acts or

omissions, that counsel’s performance was deficient and that counsel did not provide

“reasonably effective assistance,” id., as measured by “prevailing professional norms,” Rompilla

v. Beard, 545 U.S. 374, 380 (2005). Counsel is presumed to have provided effective assistance,

and the petitioner bears the burden of showing otherwise. Mason v. Mitchell, 320 F.3d 604,

616–17 (6th Cir. 2003); see also Strickland, 466 U.S. at 689 (a reviewing court “must indulge a

strong presumption that counsel’s conduct falls within the wide range of reasonable professional




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        While this Court recognizes that courts within this district have repeatedly stated that it is
“far from clear” that waiver of the right to collaterally challenge a sentence can be enforced to
bar challenges based on the Johnson decision, Mefford v. United States, No. 3:15-cv-575, 2016
WL 1737094, at *1, n. 1 (E.D. Tenn. May 2, 2016); Cox v. United States, No. 3:15-cv-362, 2016
WL 552350, at *1, n. 1 (E.D. Tenn. Feb. 10, 2016); Nance v. United States, 3:15-cv-387, 2016
WL 527193, at *1, n. 1 (E.D. Tenn. Feb. 9, 2016), each of those cases alleged improper
categorization under the ACCA. Unlike mistaken enhancement under the ACCA, improper
career offender or base offense level enhancement does not result in a sentence “in excess of the
maximum authorized by law.” See, e.g., United States v. Thompson, No. 3:06-cr-56, 2008 WL
6506506, at *14 (W.D. Ky. Nov. 7, 2008) (explaining that knowing and voluntary waivers are
enforceable so longs as they do not result in a miscarriage of justice and that a miscarriage of
justice arises where the sentence imposed exceeds the statutory maximum permissible).

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assistance; that is, the defendant must overcome the presumption that . . . the challenged action

might be considered sound . . . strategy” (internal citation omitted)).

       Second, the petitioner must demonstrate “a reasonable probability that, but for [counsel’s

acts or omissions], the result of the proceedings would have been different.” Strickland, 466 U.S.

at 694. “An error by counsel, even if professionally unreasonable, does not warrant setting aside

the judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at 691; see

also Smith v. Robbins, 528 U.S. 259, 285–86 (2000). If a petitioner fails to prove that he

sustained prejudice, the Court need not decide whether counsel’s performance was deficient. See

United States v. Hynes, 467 F.3d 951, 970 (6th Cir. 2006) (holding that alleged “flaws” in trial

counsel’s representation did not warrant a new trial where the claims, even if true, did not

demonstrate that the jury would have reached a different conclusion).

       Petitioner faults counsel for not challenging his career offender designation at the

sentencing hearing, but that ground fails. Because Johnson had no impact on the propriety of his

career offender designation, counsel’s failure to raise an objection based on that decision could

not have resulted in prejudice. This Court need not address whether the omission amounted to a

deviation from professional norms. See, e.g., Hoffner v. Bradshaw, 622 F.3d 487, 499 (6th Cir.

2010) (explaining that counsel cannot be held constitutionally ineffective for failing to pursue

meritless claim or raise a meritless objection). Petitioner is equally mistaken so far as he

suggests that counsel should have predicted what would have amounted to a change in the

definition of crime of violence. See, e.g., Green v. Johnson, 116 F.3d 1115, 1125 (5th Cir. 1997)

(“[T]here is no general duty on the part of defense counsel to anticipate changes in the law.”);

Alcorn v. Smith, 781 F.2d 58, 62 (6th Cir. 1986) (noting non-egregious “errors such as failure to



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perceive or anticipate a change in the law . . . cannot be considered ineffective assistance of

counsel”).

III.   CONCLUSION

       For the foregoing reasons, Petitioner’s motion for voluntary dismissal without prejudice

[Doc. 229] will be DENIED, the United States’ motion to deny and dismiss with prejudice [Doc.

230] will be GRANTED, and Petitioner’s § 2255 motion [Doc. 199] will be DENIED and

DISMISSED WITH PREJUDICE. This Court will CERTIFY any appeal from this action

would not be taken in good faith and would be totally frivolous. Therefore, this Court will

DENY Petitioner leave to proceed in forma pauperis on appeal. See Fed. R. App. P. 24.

Petitioner having failed to make a substantial showing of the denial of a constitutional right, a

certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Fed. R. App. P. 22(b).

       ORDER ACCORDINGLY.



                                                        /s/ Harry S. Mattice, Jr._______
                                                       HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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